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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA         )
                                 )
           V.                    )    Criminal No. 15-36E
                                 )
ELIZABETH MCMAHAN                )

                          ORDER OF COURT

                     12th day of August, 2019, upon
      AND NOW, this ______

consideration of the foregoing Motion to Travel, it is hereby

ORDERED, ADJUDGED AND DECREED that said motion be and the

same hereby is, GRANTED.

      IT IS FURTHER ORDERED that the defendant, Elizabeth

McMahan, is permitted to travel leaving the Western District

of Pennsylvania to Richmond, Virginia on August 13, 2019 and

returning back to the Western District of Pennsylvania on

August 20, 2019.

      All other conditions of release remain in full force and

effect.


                            s/ DAVID STEWART CERCONE
                            David S. Cercone
                            United States District Judge

cc:   Counsel of Record
